           Case 2:13-cv-00677-JCC          Document 13      Filed 05/14/25        Page 1 of 2




                                                                The Honorable John C. Coughenour




                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE

                                                      )
     UNITED STATES OF AMERICA                         )
                                                      )
     and                                              )
                                                          Civil Action No. 2:13-cv-677-JCC
                                                      )
     THE STATE OF WASHINGTON,                         )
                                                          [PROPOSED] ORDER GRANTING
                                                      )
                                                          LEAVE TO FILE OVERLENGTH
                                  Plaintiffs,         )
                                                          MOTION TO ENTER FIRST
                                                      )
                                                          MATERIAL MODIFICATION TO
                          v.                          )
                                                          CONSENT DECREE
                                                      )
     KING COUNTY, WASHINGTON,                         )
                                                      )
                                  Defendant.          )
                                                      )

1   [PROPOSED] ORDER GRANTING LEAVE TO FILE OVERLENGTH MOTION TO ENTER
2              FIRST MATERIAL MODIFICATION TO CONSENT DECREE
3          Upon consideration of the Plaintiffs’ Unopposed Motion for Leave to File Overlength
4   Motion to Enter First Material Modification to the Consent Decree, it is hereby ORDERED that
5   the motion is GRANTED.
6   //
7   //
8   //
9   //

    [PROPOSED] ORDER GRANTING MOTION                      UNITED STATES DEPARTMENT OF JUSTICE
    TO FILE OVERLENGTH MOTION                                Environment and Natural Resources Division
    Case No. 2:13-cv-677-JCC                                        999 18th St., Suite 600, North Terrace
                                                                       Denver, CO 80202, 303-844-1365
            Case 2:13-cv-00677-JCC       Document 13         Filed 05/14/25        Page 2 of 2




1           IT IS SO ORDERED this 14th day of May, 2025.
2




3

 4
                                            A
                                            HONORABLE JOHN C. COUGHENOUR
 5                                          UNITED STATES DISTRICT JUDGE
 6
 7
 8   Presented by:
 9   Katherine L. Matthews
10   Senior Attorney
11   Environmental Enforcement Section
12   Environment and Natural Resources Division
13   United States Department of Justice
14
15   Dated this 13th day of May, 2025.




     [PROPOSED] ORDER GRANTING MOTION                      UNITED STATES DEPARTMENT OF JUSTICE
     TO FILE OVERLENGTH MOTION                                Environment and Natural Resources Division
     Case No. 2:13-cv-677-JCC                                        999 18th St., Suite 600, North Terrace
                                                                        Denver, CO 80202, 303-844-1365
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